
In re Pierre, Derrick; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. D, No. 356-886; to the Court of Appeal, Fourth Circuit, Nos. 2013-K-0507, 2013-K-0042, 2013-K-0436, 2013-K-0538.
Denied. Relator must first address his request for a cost estimate to documents to which he is entitled under the Public Records Law to the record’s custodian, and may then seek judicial review in an independent action under the district court’s civil jurisdiction. R.S. 44:31; R.S. 44:35; State ex rel. McKnight v. State, 98-2258 (La.App. 1 Cir. 12/3/98), 742 So.2d 894.
CLARK, J., would deny.
